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    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1891V
                                         UNPUBLISHED


    PAMELA FOX,                                               Chief Special Master Corcoran

                         Petitioner,                          Filed: April 1, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Damages Decision Based on Proffer;
    HUMAN SERVICES,                                           Influenza (Flu) Vaccine; Shoulder
                                                              Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
petitioner.

Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES 1

       On December 10, 2018, Pamela Fox filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to
Vaccine Administration (SIRVA) as a result of an influenza (“flu”) vaccine administered
to her on October 2, 2017. Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On December 30, 2019, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a left SIRVA. On March 31, 2020, Respondent filed a
proffer on award of compensation (“Proffer”) indicating Petitioner should be awarded
$47,500.00 in actual and projected pain and suffering. Proffer at 1. In the Proffer,

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the decision will be available to anyone with access
to the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the
Proffer.

     Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $47,500.00 in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                          s/Brian H. Corcoran
                                          Brian H. Corcoran
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS

                                                   )
 PAMELA FOX,                                       )
                                                   )
                  Petitioner,                      )
                                                   )    No. 18-1891V
 v.                                                )    Chief Special Master Corcoran
                                                   )    ECF
 SECRETARY OF HEALTH AND HUMAN                     )
 SERVICES,                                         )
                                                   )
                  Respondent.                      )
                                                   )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On December 10, 2018, Pamela Fox (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she received on October 2,

2017. Petition at 1. On December 30, 2019, the Secretary of Health and Human Services

(“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for compensation

under the terms of the Act, and the Chief Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation the same day. ECF No. 23; ECF No. 24.

I.        Items of Compensation

          A.     Pain and Suffering

          Respondent proffers that Pamela Fox should be awarded $47,500.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to Pamela Fox should be made through

a lump sum payment as described below and requests that the Chief Special Master’s decision

and the Court’s judgment award the following1: a lump sum payment of $47,500.00,

representing compensation for pain and suffering, in the form of a check payable to petitioner,

Pamela Fox.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Pamela Fox:                                  $47,500.00

                                              Respectfully submitted,

                                              JOSEPH H. HUNT
                                              Assistant Attorney General

                                              C. SALVATORE D’ALESSIO
                                              Acting Director
                                              Torts Branch, Civil Division

                                              CATHARINE E. REEVES
                                              Deputy Director
                                              Torts Branch, Civil Division

                                              GABRIELLE M. FIELDING
                                              Assistant Director
                                              Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                  s/ Sarah C. Duncan
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DATED: March 31, 2020




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